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   15
                             UNITED STATES DISTRICT COURT
   16
                           CENTRAL DISTRICT OF CALIFORNIA
   17
   18    KEITH ANDREWS, an individual, et          Case No. 2:15-cv-04113-PSG-JEMx
         al.,
   19                                              PLAINTIFFS’ SUPPLEMENTAL
                         Plaintiffs,               MEMORANDUM OF POINTS AND
   20
               v.                                  AUTHORITIES IN SUPPORT OF
   21                                              MOTION FOR FINAL APPROVAL
   22    PLAINS ALL AMERICAN                       OF CLASS ACTION SETTLEMENT
         PIPELINE, L.P., a Delaware limited
   23                                              Date:        September 20, 2022
         partnership, et al.,
   24                                              Time:        1:30 p.m.
                         Defendants.               Judge:       Hon. Philip S. Gutierrez
   25                                              Courtroom:   6A
   26
   27
   28
                                                                SUPPLEMENTAL MPA ISO MOTION FOR FINAL
                                                                 APPROVAL OF CLASS ACTION SETTLEMENT
                                                                               CASE NO. 2:15-CV-04113-PS
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    1         Plaintiffs respectfully submit this supplemental memorandum in support of
    2   their motion for final approval of the proposed Settlement. Dkt. 952. As set out in
    3   Plaintiffs’ initial memorandum, the combined $230 million, non-reversionary
    4   Settlement before the Court is fair, adequate, and reasonable, and should be finally
    5   approved pursuant to Fed. R. Civ. P. 23(e). The Settlement was reached on the eve
    6   of trial and only after an extraordinary degree of discovery and motion practice, and
    7   with the aid of experienced mediators who oversaw several mediation sessions over
    8   the course of many years. The proposed Settlement represents a substantial and
    9   impressive percentage of the Classes’ maximum recoverable damages, and it heads
   10   off the unpredictable risks of trial and appeals – risks that are amplified in this case
   11   given its complexity, novelty, and scale.
   12         Class members’ response to the proposed Settlement indicates that they agree
   13   with this assessment. After implementation of a rigorous Class Notice plan that
   14   included individual mailed notice to thousands of Fisher and Property Class
   15   members, supplemented by extensive published notice, not a single Class member
   16   has objected to the proposed Settlement.1 The absence of objections, after a robust
   17   notice program, further supports final approval here.2 “It is established that the
   18   absence of a large number of objections to a proposed class action settlement raises
   19   a strong presumption that the terms of a proposed class settlement action are
   20
        1
          A single Property Class member objected to the distribution plan because her
   21   property was included in the “Moderate” rather than “Heavy” oiling category.
   22   However, she does not challenge the Settlement itself or the Property Plan of
        Distribution generally. The issue she raises relates only to the classification of her
   23   individual property, and is based on the mistaken assumption that properties
        categorized as having sustained “Moderate” rather than “Heavy” oiling are treated
   24   differently in their allocations. They are not. These two oiling categories receive the
   25   same Fixed Share. This misunderstanding is more fully addressed in Plaintiffs’
        Supplemental Memorandum in Support of the Plans of Distribution, Section II.A.
   26   2
          See Dkt. 959, Declaration of Jennifer Keough (“Keough Decl.”) ¶ 11-14. The
        Supplemental Declaration of Jennifer Keough (“Keough Supp. Decl.”) describes
   27   the Administrator’s efforts since July 29, 2022, including following-up on
   28   undeliverable direct mail notices, fielding inquiries through the website and toll-
        free number, and establishing the online claims submission portal.
                                                                 SUPPLEMENTAL MPA ISO MOTION FOR FINAL
                                                    -1-           APPROVAL OF CLASS ACTION SETTLEMENT
                                                                                CASE NO. 2:15-CV-04113-PS
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    1   favorable to the class members.” Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc.,
    2   221 F.R.D. 523, 529 (C.D. Cal. 2004); see also Churchill Vill., LLC v. Gen. Elec.,
    3   361 F.3d 566, 577 (9th Cir. 2004) (affirming district court’s approval of settlement
    4   where 45 of 90,000 class members objected to the settlement and 500 class
    5   members opted out); Smith v. Experian Info. Sols., Inc., No. SACV 17-00629-CJC
    6   (AFMx), 2020 WL 6689209, at *4 (C.D. Cal. Nov. 9, 2020). The absence of
    7   objections is especially meaningful given that many Class members have
    8   substantial recoveries at stake and therefore have more incentive to make any
    9   objections known. See Dkts. 951-1 ¶¶ 71, 75, 80; 951-2 ¶ 62; see also 4 NEWBERG
   10   AND RUBENSTEIN ON CLASS ACTIONS           § 13:58 (6th ed.).3
   11               For the reasons stated above and in their initial memorandum in support of
   12   final settlement approval, Plaintiffs respectfully request that the Court grant their
   13   motion for final approval of the proposed Settlement as fair, adequate, and
   14   reasonable.
   15
            Dated: September 2, 2022             Respectfully submitted,
   16
                                                 By:         /s/ Robert J. Nelson
   17
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   26   3
         Thirty-four Class members opted out of the case after the Classes were initially
   27   certified, prior to the Settlement. Plaintiffs have attached an amended proposed
        order that includes this list of opt-outs and references the lack of objections to the
   28   Settlement.
                                                                     SUPPLEMENTAL MPA ISO MOTION FOR FINAL
        2454594.4
                                                       -2-            APPROVAL OF CLASS ACTION SETTLEMENT
                                                                                    CASE NO. 2:15-CV-04113-PS
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                                            -3-           APPROVAL OF CLASS ACTION SETTLEMENT
                                                                        CASE NO. 2:15-CV-04113-PS
